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12
13                                   UNITED STATES DISTRICT COURT

14                                        DISTRICT OF NEVADA

15
16   CARLO SURBONA,                                    Case No. 2:22-cv-01831-APG-VCF

17                      Plaintiff,                    DEFENDANT EXPERIAN
                                                      INFORMATION SOLUTIONS, INC.
18          v.                                        AND PLAINTIFF’S FIRST
                                                      STIPULATION TO EXTEND TIME TO
19   EXPERIAN INFORMAITON                             ANSWER COMPLAINT
     SOLUTIONS, INC.; EQUIFAX
20   INFORMAITON SERVICES, LLC;
     AND TRANS UNION LLC,
21                                                     Complaint Filed: 9/28/2022
                        Defendants.
22
23
            Defendant Experian Information Solutions, Inc. (“Experian”) and Plaintiff Carlo Surbona
24
     (“Plaintiff”), by and through their respective counsel of record, hereby submit this stipulation to
25
     extend the time for Experian to respond to Plaintiff’s Complaint (ECF No. 1) pursuant to LR IA
26
     6-1.
27
28
     Case 2:22-cv-01831-APG-VCF Document 11 Filed 11/23/22 Page 2 of 2



1           Plaintiff filed his Complaint on November 1, 2022, and currently, Experian’s responsive

2    pleading is due November 25, 2022. (ECF No. 1.) The first extension will allow Experian an

3    opportunity to investigate the facts of this case and to avoid the incurrence of additional

4    attorneys’ fees when this matter may be resolved shortly. Plaintiff and Experian stipulate and

5    agree that Experian shall have an extension until December 16, 2022, to file its responsive

6    pleading.

7           This is Experian’s first request for an extension of time to respond to the Complaint and is

8    not intended to cause any delay or prejudice any party, but to permit both Plaintiff and Experian

9    an opportunity to more fully investigate the claims alleged.

10          IT IS SO STIPULATED.
11          DATED this 23rd day of November 2022.
12
13   NAYLOR & BRASTER                                 PRICE LAW GROUP, APC
14
15   By: /s/ Jennifer L. Braster                      By: /s/ Michael Yancey
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     Experian Information Solutions, Inc.
23
24
25
     IT IS SO ORDERED.
26
27               23rd
     Dated this ______ day of November 2022.
28                                                     UNITED STATES MAGISTRATE JUDGE
                                                     -2-
